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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA
                               NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                                           MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                                  SECTION “N-5"

                                                              JUDGE ENGELHARDT
                                                              MAG. JUDGE CHASEZ

THIS DOCUMENT IS RELATED TO:
Brown, et al. v. Alliance Homes, Inc., et al.,
EDLA Case No. 09- 4953

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            SUPPLEMENTAL EXHIBIT “A” TO PLAINTIFFS’ COMPLAINT
                   PURSUANT TO PRETRIAL ORDER NO. 53

       In compliance with Pretrial order 53 (Rec. Doc. 9073), plaintiffs hereby file their

Supplemental Exhibit “A” to their Complaint to match the plaintiffs to their correct

Manufacturer Defendants and Contractor/Installer Defendants.


       In addition to the information previously submitted, plaintiffs attach hereto a

Supplemental Exhibit “A” and incorporate same by reference herein.


                                      Respectfully submitted:

                                      FEMA TRAILER FORMALDEHYDE
                                      PRODUCT LIABILITY LITIGATION

                                      BY:        s/Gerald E. Meunier
                                                 GERALD E. MEUNIER, #9471
                                                 PLAINTIFFS’ CO-LIAISON COUNSEL
                                                 Gainsburgh, Benjamin, David, Meunier &
                                                 Warshauer, L.L.C.
                                                 2800 Energy Centre, 1100 Poydras Street
                                                 New Orleans, Louisiana 70163
                                                 Telephone: 504/522-2304
                                                 Facsimile:    504/528-9973
                                                 gmeunier@gainsben.com
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                                                      s/Justin I. Woods
                                                      JUSTIN I. WOODS, #24713
                                                      PLAINTIFFS’ CO-LIAISON COUNSEL
                                                      Gainsburgh, Benjamin, David, Meunier &
                                                      Warshauer, L.L.C.
                                                      2800 Energy Centre, 1100 Poydras Street
                                                      New Orleans, Louisiana 70163
                                                      Telephone: 504/522-2304
                                                      Facsimile:     504/528-9973
                                                      jwoods@gainsben.com

                                                      COURT-APPOINTED PLAINTIFFS’
                                                      STEERING COMMITTEE
                                                      ANTHONY BUZBEE, Texas # 24001820
                                                      ROBERT BECNEL, #14072
                                                      RAUL BENCOMO, #2932
                                                      FRANK D’AMICO, #17519
                                                      MATT MORELAND, #24567
                                                      LINDA NELSON, #9938
                                                      DENNIS REICH, Texas #16739600
                                                      MIKAL WATTS, Texas # 20981820




                                          CERTIFICATE OF SERVICE

         I hereby certify that on June 18, 2010, I electronically filed the foregoing with the Clerk of Court by using

the CM/ECF system which will send a notice of electronic filing to all counsel of record who are CM/ECF

participants. I further certify that I mailed the foregoing document and the notice of electronic filing by first-class

mail to all counsel of record who are non-CM/ECF participants.

                                                      s/Gerald E. Meunier
                                                      GERALD E. MEUNIER, #9471
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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA
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IN RE: FEMA TRAILER                                        MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                               SECTION “N-5"

                                                           JUDGE ENGELHARDT
                                                           MAG. JUDGE CHASEZ

THIS DOCUMENT IS RELATED TO:
Brown, et al. v. Alliance Homes, Inc., et al.,
EDLA Case No. 09-

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                                SUPPLEMENTAL EXHIBIT A



Martin Bunch, Sr. -           Gulf Stream Coach, Inc.; After due diligence, contractor unknown

Martin Bunch, Jr. -           Gulf Stream Coach, Inc.; After due diligence, contractor unknown

David Carradine, Jr. -        After due diligence, manufacturer and contractor unknown

Rose Davis -                  Lakeside Homes, Inc.; Shaw Environmental, Inc.

Henry Dilbert -               Gulf Stream Coach, Inc.; Shaw Environmental, Inc.

Henry Dilbert on behalf of the minor child, Mandalee Dilbert -     Gulf Stream Coach, Inc.;
                                                                   Shaw Environmental, Inc.

Emile Gaudet, III -           After due diligence, manufacturer and contractor unknown

Erin Gaudet -                 After due diligence, manufacturer and contractor unknown

Eclee Green -                 Gulf Stream Coach, Inc.; Shaw Environmental, Inc.

Charles Harris -              Gulf Stream Coach, Inc.; Fluor Enterprises, Inc.

Willie Harris -               Gulf Stream Coach, Inc.; Fluor Enterprises, Inc

Jermain Miller -              Gulf Stream Coach, Inc.; Fluor Enterprises, Inc

Raymond Nelson on behalf of the minor child, Gabriel Nelson -      Gulf Stream Coach, Inc.;
                                                                   Fluor Enterprises, Inc
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Raymond Nelson -              Gulf Stream Coach, Inc.; Fluor Enterprises, Inc.

Tara Price on behalf of the minor child, Nakia Price –        Jayco Enterprises, Inc.; CH2M Hill
                                                              Constructors, Inc.

Gwendolyn Robinson -          Gulf Stream Coach, Inc.; Shaw Environmental, Inc.

Nathean Robinson -            Jayco Enterprises, Inc.; CH2M Hill Constructors, Inc.

Hubert Smith, Sr. -           After due diligence, manufacturer unknown; Shaw Environmental,
                              Inc.

Hubert Smith, Sr., on behalf of the minor child, Hubert Smith, Jr. - After due diligence,
                                                                     manufacturer unknown;
                                                                     Shaw Environmental, Inc.

Nykia Sorino on behalf of the minor child, Mykia Sorina - Pilgrim International Inc.; Fluor
                                                          Enterprises, Inc.

Leslie Sumler on behalf of the minor child, Gary Sumler, Jr. -       Gulf Stream Coach, Inc.;
                                                                     Fluor Enterprises, Inc.

Gary Sumler, Sr. -            Gulf Stream Coach, Inc.; Fluor Enterprises, Inc.

Leslie Sumler -               Gulf Stream Coach, Inc.; Fluor Enterprises, Inc.

Leslie Sumler on behalf of the minor child, Sierra Sumler - Gulf Stream Coach, Inc.; Fluor
                                                            Enterprises, Inc.

Erin Gaudet on behalf of the minor child, Brandon Terry - After due diligence, manufacturer
                                                          and contractor unknown

Erin Gaudet on behalf of the minor child, Darinesha Terry -          After due diligence,
                                                                     manufacturer and contractor
                                                                     unknown

Charles Trueblood –           Thor Industries, Inc.; Fluor Enterprises, Inc.

Keisha Warren -               Thor Industries, Inc.; Fluor Enterprises, Inc.

Joseph Wheeler -              Lakeside Park Homes, Inc.; Fluor Enterprises, Inc.

Milezone Williams -           Fleetwood Enterprises, Inc.; Fluor Enterprises, Inc.

Sheila Williams -             Forest River, Inc.; Fluor Enterprises, Inc.

Shertana Williams on behalf of the minor child, Sieara Williams - Forest River, Inc.; Fluor
                                                                  Enterprises, Inc.
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Antoine Johnson -            Gulf Stream Coach, Inc.; After due diligence, contractor unknown

Vallerie Woods on behalf of the minor child, Aaliyah Jones -      Gulf Stream Coach, Inc.;
                                                                  After due diligence,
                                                                  contractor unknown

Angelus Mitchell -           Gulf Stream Coach, Inc.; After due diligence, contractor unknown

Vallerie Woods -             Gulf Stream Coach, Inc.; After due diligence, contractor unknown

Maurice Morgan -             Gulf Stream Coach, Inc.; CH2M Hill Constructors, Inc.

Jacklyn Dilbert -            Gulf Stream Coach, Inc.; Shaw Environmental, Inc.

Mary Elder -                 After due diligence, manufacturer and contractor unknown

Jackie Foster -              Fleetwood Enterprises, Inc.; After due diligence, contractor
                             unknown

Vileaner Horton -            After due diligence, manufacturer and contractor unknown

Jessie Perry -               After due diligence, manufacturer and contractor unknown

Dionne Webb -                KZRV, LP; Fluor Enterprises, Inc.

Harry Whiting -              After due diligence, manufacturer and contractor unknown

Russell Gainey, Jr. -        Coachmen Industries, Inc., Coachmen Recreational Vehicle
                             Company, LLC, Coachmen Recreational Vehicle Company of
                             Georgia, LLC; Fluor Enterprises, Inc.

Cole Simon -                 Gulf Stream Coach, Inc.; Shaw Environmental, Inc.

Gloria Jason -               Fleetwood Enterprises, Inc.; Shaw Environmental, Inc.

Marilyn Johnson -            KZRV, LP; Fluor Enterprises, Inc.

Ronald Johnson -             Gulf Stream Coach, Inc.; Shaw Environmental, Inc.

Catherine White -            Recreation By Design, LLC; Fluor Enterprises, Inc.

Vincent Martinez -           After due diligence, manufacturer and contractor unknown

Dianne Mayer -               Stewart Park Homes, Inc.; Fluor Enterprises, Inc.

Oliver Mickens -             After due diligence, manufacturer and contractor unknown

Jashawn Sanders -            After due diligence, manufacturer and contractor unknown
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Frances Carradine -           Jayco Enterprises, Inc.; After due diligence, contractor unknown

Rodney Roman -                Pilgrim International, Inc.; Shaw Environmental, Inc.

David Carradine, Jr., on behalf of the minor child, Christopher Carradine -          Jayco
                                                                              Enterprises, Inc.;
                                                                              After due diligence,
                                                                              contractor unknown

Darrell Nedd -                After due diligence, manufacturer and contractor unknown

Sterling Everidge -           Gulf Stream Coach, Inc.; Fluor Enterprises, Inc.

Earl Daniels -                Superior Homes, LLC; Shaw Environmental, Inc.

Joyce Daniels -               Superior Homes, LLC; Shaw Environmental, Inc.

Harrell Terrell -             Monaco Coach, Inc.; After due diligence, contractor unknown

Faydra Cooper -               Keystone RV Company; Fluor Enterprises, Inc.

Faydra Cooper on behalf of the minor child Dennis Cooper, III -      Keystone RV Company;
                                                                     Fluor Enterprises, Inc.

Faydra Cooper on behalf of the minor child Deniah Cooper -           Keystone RV Company;
                                                                     Fluor Enterprises, Inc.

Dennis Cooper, Jr. -          Keystone RV Company; Fluor Enterprises, Inc.

Charles Bevrotte, III -       Forest River, Inc..; Fluor Enterprises, Inc.

Janice Bevrotte -             Forest River, Inc..; Fluor Enterprises, Inc

Rene Dupree -                 Fleetwood Enterprises, Inc.; Fluor Enterprises, Inc.

Arthur Dupree -               Fleetwood Enterprises, Inc.; Fluor Enterprises, Inc.

Kevin Washington -            After due diligence, manufacturer and contractor unknown

Karen Robinson -              After due diligence, manufacturer and contractor unknown

Sylvia Brown -                Forest River, Inc.; Fluor Enterprises, Inc.
